Case 4:22-cr-00253-P Document 14 Filed 08/30/22 Pageiof1i PagelD 18

‘Type hearing:
Case number:
Defendant:
Interpreter.
Court Reporter:
US attorney:
Defense attorney:
Time in Court:
Judge:

Date of hearing:
Status:

Days in Court:

Hearing concluded:

Deputy Clerk:

Other Information:

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

po

MINUTE ORDER" NORTHER hh

x TET ee eee
“oF 4

r OF TEXAS

    

 

Atraignment - NON-EVIDENTIARY
4:22-CR-253-P

Lauren Whitney Moore

N/A CLERC US DISTRICT COURT

DIGITAL
Shawn Smith ~~ LOAMUNE Whither tet

Curt Crum

6 minutes

Magistrate Judge Jeffrey L. Cureton

August 302022

The Defendant entered a plea of not guilty to the Indictment.
Deft continued in custody

one

Yes

Julie Harwell

AUG 30 pap?
